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 4
     Attorney for ROBB CHEAL
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                   ) No. 2:12-CR-185-TLN
 8
                     Plaintiff,                      )
 9                                                   ) STIPULATION AND ORDER
             v.                                      ) TO STATUS CONFERENCE
10                                                   )
     ROBB CHEAL,                                     ) Date: 1-3-2019
11
                                                     ) Time: 9:30 a.m.
12
                     Defendant.                      ) Judge: Hon. Troy L. Nunley
     ================================)
13
             It is hereby stipulated between the parties, Jason Hitt, Assistant United States Attorney,
14

15
     Michael D. Long, attorney for defendant ROBB CHEAL, that the status conference set for December

16   13, 2018, at 9:30 a.m. should be vacated and re-set for January 3, 2019, at 9:30 a.m.
17           The parties further agree that this court should make a finding of good cause for the requested
18
     extension and that in fact good cause is hereby shown. Mr. Long is investigating a potential legal
19
     conflict of interest and if there is one, whether that legal conflict will be waived by a co-defendant.
20
             Each party further stipulates that the ends of justice served by granting such continuance
21

22   outweigh the best interests of the public and of all the defendants in a speedy trial. Each party would

23   like time to be excluded as provided by Local Code T4 from today’s date through January 3, 2019,
24
     for the effective preparation of all counsel, taking in to account due diligence. 18 U.S.C. section
25
     3161(b)(7)(B)(iv).
26
             All parties request the date of January 3, 2019, for the status hearing. The request for
27

28   extending the date for the status conference is at the specific request of the defendants and with the



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 1   knowing, intelligent and voluntary waiver of their speedy trial rights under the law. Good cause is
 2
     hereby shown.
 3
     Dated: December 12, 2018                               Respectfully submitted,
 4
                                                            /s/ Michael D. Long__________
 5
                                                            MICHAEL D. LONG
 6                                                          Attorney for Robb Cheal

 7   Dated: December 12, 2018                               BENJAMIN WAGNER
                                                            United States Attorney
 8

 9                                                          /s/ Jason Hitt________
                                                            JASON HITT
10                                                          Assistant U.S. Attorney
11
                                    ORDER

12          GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
13          The date for the status hearing in this matter is hereby re-set for January 3, 2019, at 9:30
14   a.m., before District Court Judge Troy L. Nunley. The court finds that the ends of justice served by
15   granting such continuance outweigh the best interests of the public and of all the defendants in a

16
     speedy trial. Time is excluded as provided by Local Code T4 from today’s date through January 3,
     2019, for the effective preparation of all counsel, taking in to account due diligence. 18 U.S.C.
17
     section 3161(b)(7)(B)(iv).
18

19   Dated: December 13, 2018
20

21
                                                             Troy L. Nunley
22                                                           United States District Judge

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